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DONALD GLENN SHIRES,

VS.

HWW ENTERPRISES, INC., d/b/a
WORLDWIDE PROFESSIONAL
SERVICES, WESTPORT RESOURCES
CORPORATION, OCEAN RUNNER
MARINE, INC.,

MICHAEL BAKER, JR., INC. d/b/a
BAKER ENERGY SERVICES,

AND GRASSO PRODUCTION
MANAGEMENT, INC.

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IN THE UNITED STATES DISTRICT COURT ene

FOR THE EASTERN DISTRICT OF TEXAS | AUG 2 2 2003

TYLER DIVISION Lee
By DAVID J. ALAND, CLERK
DEPUTY __

No. 6-03-CV-0233
Jury Trial: LD

 

PLAINTIFF

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DEFENDANTS

PLAINTIFF’S FIRST AMENDED COMPLAINT
TO THE HONORABLE JUDGE OF SAID COURT:

1.0 COMES NOW, the plaintiff Donald Glenn Shires, and for causes of
action against the defendants HWW Enterprises, Inc. d/b/a Worldwide Professional
Services, Westport Resources Corporation, Ocean Runner Marine, Inc., Grasso
Production Management, Inc., Michael Baker, Jr., Inc. d/b/a Baker Marine Services,

and each of them, complain and alleges as follows:

2.0 This Court has Federal Question Jurisdiction under the Outer Continental
Shelf Lands Act, 43 U.S.C. 1331 et seq. over the claims of the Plaintiff in regards to
the Plaintiff's third party negligence claims against Westport Resources Corporation.
(Memorandum Opinion and Order at page 12) This Court has chosen to exercise

supplemental jurisdiction over the Plaintiff's general maritime negligence claims

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against Ocean Runner Marine, Inc. initially brought in state Court under the savings to
suitors clause. (Memorandum Opinion and Order at page 14) However, as will be
shown below, those claims too are the subject of original federal question jurisdiction
and are actionable as general negligence claims under OCSLA and the Plaintiff brings
this action against Ocean Runner as authorized under the Longshore and Harbor
Workers’ Compensation Act, 33 U.S.C. §§ 902(21), 905(b-c) made available to the
Plaintiff by 43 U.S.C. § 1333(b). This court also enjoys Federal Question Jurisdiction
over the Plaintiffs claims against Grasso Production Management, Inc. under Outer

Continental Shelf Lands Act, 43 U.S.C. 1331 et seq.

3.0 HWW Enterprises, Inc. d/b/a Worldwide Professional Services was and
is a Texas corporation, transacting business in the state of Texas with its principle
offices located in Beckville, Texas. This defendant has appeared and answered herein
and is before the Court for all purposes. However, the determination by the Court in
its Memorandum Opinion and Order on the Plaintiff's Motion to Remand found that as
a matter of law that the Plaintiff is not a Jones Act sailor, as initially alleged in the
state Court pleading. This finding by the Court results in the Plaintiff's remedy
against this Defendant being limited to an administrative action under the
Longshoreman and Harbor Worker’s Compensation Act. Based on the Court’s ruling,

this entity is no longer a proper party to this action due to the exclusivity provisions of

that act.

4.0 Westport Resources Corporation is a Nevada Corporation which has

appeared and answered herein and is before the Court for all purposes.

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5.0 Ocean Runner Marine, Inc., is a Louisiana corporation which has

appeared and answered herein and is before the Court for all purposes.

6.0 Grasso Production Management, Inc., is a Texas Corporation, which may
be served process in this matter by service on its registered agent, Stephen M. Merlet,

at 810 Highway 6 South, Suite 200, Houston, Texas 77079-4022.

7.0 Michael Baker, Jr., Inc. d/b/a Baker Energy Services is a Pennsylvania
Corporation with offices in Pennsylvania and Texas. This defendant may be served
through its registered agent for service, C.T. Corporation System, 350 N. St. Paul
Street, Dallas, Texas 75201.

A. CAUSE OF ACTION AGAINST WESTPORT RESOURCES
FOR NEGLIGENCE UNDER OSCLA

8.0 This action is brought against Westport Resources in its role as platform
owner for negligence under OCSLA. This court has original federal question

jurisdiction over this claim under OCSLA, 43 U.S.C. 1333(2)a).

9.0 Donald Glenn Shires was employed as a pipe fitter and rigger by HWW

Enterprises, Inc. d/b/a Worldwide Professional Services. (Hereafter WPS).

10.0 WPS was retained as an independent contractor by Westport Resources

Corporation.

11.0 Westport Resources Corporation is engaged in oil and gas exploration

and production offshore in the Gulf of Mexico.

12.0 Inthe course of such operations, Westport hired WPS to perform repair

and maintenance operations to its fixed platforms on the outer continental shelf.
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Westport would retain WPS to pre-fabricate railings, ladders and structures, and once
the pre-fabrication was completed, Westport would time charter a crew boat to transport
the Westport workers, on a boat, to the various platforms where the work would be
performed. In this case, Westport entered into a time charter of the M/V/ Ocean Runner

VIL

13.0 Plaintiff Shires, was injured on December 12, 2002 in operations
involving exploration for and production of Oil and or Gas on the outer Continental
Shelf as he transferred by rope swing from a Platform owned by Westport to the vessel
the M/V Ocean Runner VII in heavy seas. The impact with the hold of the vessel
resulted in disabling injuries, including a broken hip, and injuries to the Plaintiff's back,

neck and shoulders which have rendered the Plaintiff disabled and impaired.

14.0 As the platform owner, Westport Resources owed the duty to the Plaintiff

to provide a safe workplace, and to warn of or to remedy known hazards.

15.0 Defendant Westport Resources breached its legal duty owed to the
Plaintiff as the Platform Owner in the following respects, each of which constituted a
hazardous condition upon the platform, each of which was known to the Defendant or

should have been known to the Defendant, in the exercise of reasonable care:

a. Negligently failing to supply proper gear and equipment
necessary to provide a safe means transfer to and from the
platform by the absence of a working crane basket;

b. Negligently failing to supply proper gear and equipment
necessary to provide a safe means transfer to and from the

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platform by the failure to provide a helicopter to transfer workers

under the high seas conditions;

c. By requiring the contractor to require its employees to remain on
the platform to complete the work project in spite of the onset of

adverse weather and heavy seas;

d. By requiring the contractor to require its employees to transfer
from the platform by a swing rope in spite of the adverse weather

and heavy seas;

€. By its failure to adhere to safety regulations promulgated for the
protection of the health and safety of workers engaged on the

outer Continental Shelf.

f. By failing to require evacuation of the platform before seas

became too rough to attempt a transfer by rope swing.

g. By failing to provide a medical evacuation of the Plaintiff after he ~

had become injured.

Each of the foregoing acts of negligence was a proximate cause of injuries and

damages suffered by the Plaintiff herein as pled for herein below.

B. CAUSE OF ACTION AGAINST WESTPORT RESOURCES
FOR NEGLIGENCE UNDER LHWCA

16.0 This action is brought against WESTPORT RESOURCES in its role as

the non-demise time charterer of the vessel M/V Ocean Runner VII for negligence under

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the LHWCA, 33 U‘S.C. §§ 902(21), 905(b-c) made available to the Plaintiff by 43

U.S.C. § 1333(b).

17.0 Donald Glenn Shires was employed as a pipe fitter and rigger by HWW

Enterprises, Inc. d/b/a Worldwide Professional Services. (Hereafter WPS)

18.0 WPS was retained as an independent contractor by Westport Resources

Corporation.

19.0 Westport Resources Corporation is engaged in oil and gas exploration

and production offshore in the Gulf of Mexico.

20.0 Inthe course of such operations, Westport hired WPS to perform repair
and maintenance operations to its fixed platforms on the outer continental shelf.
Westport would retain WPS to pre-fabricate railings, ladders and structures, and once
the pre-fabrication was completed, Westport would time charter a crew boat to transport
the Westport workers, on a boat, to the various platforms where the work would be
performed. In this case, Westport entered into a time charter of the M/V/ Ocean Runner

VIL.

21.0 Plaintiff Shires, was injured on December 12, 2002 on a Platform owned
by Westport when he was thrown to the hold of the vessel the M/V Ocean Runner VII
after transferring to the vessel at sea from a fixed platform by a swing rope in heavy
seas. The impact with the hold resulted in disabling injuries, including a broken hip and
injuries to the Plaintiff's back, neck and shoulders which have rendered the Plaintiff

disabled and impaired.

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22.0 As the non-demise charterer of the M/V Ocean Runner VIL, Westport

Resources owed the Plaintiff the legal duty to avoid negligent actions within the sphere

of activity of the M/V Ocean Runner VII over which it exercised at least partial control.

23.0 Defendant Westport Resources breached its legal duty owed to the

Plaintiff in its capacity as the non-demise charterer of the M/V Ocean Runner VII. The

Defendant Westport Resources exercised control over and participated in the decisions

which led to the injuries and damages, to wit: cargo, route, and general mission, as well

as the specific time in which the vessel will perform its mission, including in this

particular instance, the timing and location of the transfer.

24.0 Westport Resources, in its capacity as non-demise charterer of the vessel

M/V Ocean Runner VII was negligent in at least one of the following particulars:

PLAINTIFF’

In requiring a rope transfer to a vessel in rough conditions when a
helicopter was available and could have been used and there were

no compelling circumstances;

In failing to stop the swing rope transfer;

In dispatching the vessel into unsheltered water;
In failing to heed reports of impending weather;

In failing to dispatch a helicopter to safely transfer the Plaintiff

from the platform;

By its failure to adhere to safety regulations promulgated for the
protection of the health and safety of workers engaged on the

outer Continental Shelf.

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g. By failing to require evacuation of the platform before seas

became too rough to attempt a transfer by rope swing.

h. By failing to provide a medical evacuation of the Plaintiff after he

had become injured.

Each of the foregoing acts of negligence was a proximate cause of injuries and

damages suffered by the Plaintiff herein as pled for herein below.

C. CAUSE OF ACTION AGAINST GRASSO PRODUCTION MANAGEMENT
FOR NEGLIGENCE UNDER OSCLA

25.0 This action is brought against Grasso Production Management, Inc. for
negligence under OCSLA. This court has original federal question jurisdiction over this

claim under OCSLA, 43 U.S.C. 1333(2)(a).

26.0 Donald Glenn Shires was employed as a pipe fitter and rigger by HWW

Enterprises, Inc. d/b/a Worldwide Professional Services. (Hereafter WPS)

27.0 Grasso Production Management, Inc. was retained as an independent
contractor by Westport Resources Corporation to act as its eyes and agent to oversee
that the work performed by the independent contractor, HWW Enterprises, Inc. d/b/a
Worldwide Professional Services met Westport Resources Corporations’ expectations
and needs. Westport Resources Corporation is engaged in oil and gas exploration and

production offshore in the Gulf of Mexico.

28.0 Grasso Production Management, Inc.’s employee J. Hebert was present

on the platform and in communication with Westport Resources Corporation concerning

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the progress of the work intended to be performed and the developing storm and sea

conditions.

29.0 Grasso Production Management, Inc., through its employee, J. Hebert,
participated in the decision to instruct the H.W.W. Crew to remain on the Platform to
complete the work intended to be completed, in spite of the developing storm and heavy

seas.

30.0 Grasso Production Management, Inc., through its employee, J. Hebert,
participated in the decision to instruct the H.W.W. Crew to transfer from the platform to

the M/V Ocean Runner VII under heavy sea conditions.

31.0 Plaintiff Shires, was injured on December 12, 2002 on a Platform owned
by Westport when he was thrown to the hold of the vessel the M/V Ocean Runner VII
after transferring to the vessel at sea from a fixed platform by a swing rope in heavy
seas. The impact with the hold resulted in disabling injuries, including a broken hip and
injuries to the Plaintiff's back, neck and shoulders which have rendered the Plaintiff

disabled and impaired.

32.0 As the agent for Westport and in its individual capacity, Grasso owed the
duty to the Plaintiff to provide a safe workplace, and to warn of or to remedy known

hazards.

33.0 Defendant Grasso breached its legal duty owed to the Plaintiff in the
following respects, each of which constituted a hazardous condition upon the platform,
each of which was known to the Defendant or should have been known to the

Defendant, in the exercise of reasonable care:

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a. Negligently failing to supply proper gear and equipment
necessary to provide a safe means transfer to and from the

platform by the absence of a working crane basket;

b. Negligently failing to supply proper gear and equipment
necessary to provide a safe means transfer to and from the
platform by the failure to provide a helicopter to transfer workers

under the high seas conditions;

C. By requiring the contractor to require its employees to remain on
the platform to complete the work project in spite of the onset of

adverse weather and heavy seas;

d. By requiring the contractor to require its employees to transfer
from the platform by a swing rope in spite of the adverse weather

and heavy seas;

e. By its failure to adhere to safety regulations promulgated for the
protection of the health and safety of workers engaged on the

outer Continental Shelf.

f. By failing to require evacuation of the platform before seas

became too rough to attempt a transfer by rope swing.

g. By failing to provide a medical evacuation of the Plaintiff after he

had become injured.

Each of the foregoing acts of negligence was a proximate cause of the injuries

and damages suffered by the Plaintiff herein as pled for herein below.
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D. CAUSE OF ACTION AGAINST MICHAEL BAKER, JR., INC. d/b/a BAKER

ENERGY SERVICES FOR NEGLIGENCE UNDER OSCLA

34.0 This action is brought against Michael Baker, Jr., Inc. d/b/a Baker Energy
Services Michael Baker, Jr., Inc. d/b/a Baker Energy Services for negligence under
OCSLA. This court has original federal question jurisdiction over this claim under

OCSLA, 43 U.S.C. 1333(2)(a).

35.0 Donald Glenn Shires was employed as a pipe fitter and rigger by HWW

Enterprises, Inc. d/b/a Worldwide Professional Services. (Hereafter WPS)

36.0 Westport Resources Corporation is engaged in oil and gas exploration
and production offshore in the Gulf of Mexico. In the course of such operations,
Westport hired Michael Baker, Jr., Inc. d/b/a Baker Energy Services to manage certain
of its’ oil and gas production operations in the Gulf of the Mexico, including the fixed
platform on the outer continental shelf where the injuries to the Plaintiff allegedly

occurred.

37.0 Plaintiff Shires, was injured on December 12, 2002 on a Platform owned
by Westport and managed by Michael Baker, Jr., Inc. d/b/a Baker Energy Services when
he was thrown to the hold of the vessel the M/V Ocean Runner VII after transferring to
the vessel at sea from a fixed platform by a swing rope in heavy seas. The impact with
the hold resulted in disabling injuries, including a broken hip and injuries to the
Plaintiff's back, neck and shoulders which have rendered the Plaintiff disabled and

impaired.

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38.0 As the platform operations manager, Michael Baker, Jr., Inc. d/b/a Baker
Energy Services owed the duty to the Plaintiff to provide a safe workplace, and to warn
of or to remedy known hazards. Michael Baker, Jr., Inc. d/b/a Baker Energy Services
had actual knowledge that the evacuation of the platform was necessary due to adverse
weather conditions, and in fact, Michael Baker, Jr., Inc. d/b/a Baker Energy Services
evacuated its own employee from the platform by helicopter shortly before the accident

in question.

39.0 Defendant Michael Baker, Jr., Inc. d/b/a Baker Energy Services breached
its legal duty owed to the Plaintiff as the Platform operations manager in the following
respects, each of which constituted a hazardous condition upon the platform, each of
which was known to the Defendant or should have been known to the Defendant, in the

exercise of reasonable care:

a. Negligently failing to supply proper gear and equipment
necessary to provide a safe means transfer to and from the

platform by the absence of a working crane basket;

b. Negligently failing to supply proper gear and equipment
necessary to provide a safe means transfer to and from the
platform by the failure to provide a helicopter to transfer workers

under the high seas conditions;

c. By requiring the contractor to require its employees to remain on
the platform to complete the work project in spite of the onset of

adverse weather and heavy seas;

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d. By requiring the contractor to require its employees to transfer
from the platform by a swing rope in spite of the adverse weather

and heavy seas;

e. By its failure to adhere to safety regulations promulgated for the
protection of the health and safety of workers engaged on the

outer Continental Shelf.

f. By failing to require evacuation of the platform before seas

became too rough to attempt a transfer by rope swing.

g. By failing to require adherence to its own safety procedures for

_ the transfer of personnel from a platform.

Each of the foregoing acts of negligence was a proximate cause of the injuries

and damages suffered by the Plaintiff herein as pled for herein below.-

E. CAUSE OF ACTION AGAINST OCEAN RUNNER MARINE
FOR NEGLIGENCE UNDER LHWCA

40.0 This action is brought against Ocean Runner Marine, Inc. for negligence
under as authorized under the Longshore and Harbor Workers’ Compensation Act, 33

U.S.C. §§ 902(21), 905(b-c) made available to the Plaintiff by 43 U.S.C. § 1333(b).

41.0 Donald Glenn Shires was injured on December 12, 2002 while employed
as an offshore platform maintenance worker on the outer continental shelf from the M/V
Ocean Runner VII when he was thrown to the hold of the vessel after transferring to the

vessel at sea from a fixed platform by a swing rope in heavy seas. The impact with the

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hold resulted in disabling injuries, including a broken hip and injuries to the Plaintiff's

back, neck and shoulders which have rendered the Plaintiff disabled and impaired.

42.0 Ocean Runner Marine, Inc. owed the Plaintiff a legal duty under the
LHWCA to exercise due care to avoid his exposure to harm from hazards under the
active control of the vessel; and the duty to intervene and take reasonable steps to
eliminate a hazard if he has actual knowledge that a condition of the vessel or its
equipment poses an unreasonable risk of harm and the vessel acquires knowledge that

the stevedore means to work in the face of it and thus cannot be relied on to remedy it.

43.0 Ocean Runner Marine, Inc. breached its duty of care to avoid the
Plaintiff's exposure to harm from hazards under the active control of the vessel in the
following particulars, each of which was a proximate cause of the injuries and damages

described herein above:

a. Permitting a rope transfer to the vessel from a fixed platform in heavy
seas. -
b. By failing to require evacuation of the platform before seas became too

rough to attempt a transfer by rope swing.

c. By failing to provide a medical evacuation of the Plaintiff after he had

become injured.

d. By backing down onto the Platform to accept a transfer of personnel by a

rope transfer under heavy sea conditions.

e. By failing to require an alternate means of transfer such as a helicopter

evacuation or crane basket transfer.

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44.0 Ocean Runner Marine, Inc. breached its duty of care to intervene and

take reasonable steps to eliminate a hazard if he has actual knowledge that a condition of

the vessel or its equipment poses an unreasonable risk of harm and the vessel acquires

knowledge that the stevedore means to work on in the face of it and thus cannot be

relied on to remedy it in the following particulars, each of which was a proximate cause

of the injuries and damages described herein above:

a.

PLAINTIFF’

Permitting the rope transfer to the vessel from a fixed platform in heavy
seas when the vessel, through its captain and crew, knew that the motion
of the heavy seas created a condition of the vessel which posed an
unreasonable risk of harm, which the platform workers, under direct
instructions from their superiors meant to confront and work through and

could not have been relied upon to remedy.

By failing to require evacuation of the platform before seas became too
rough to attempt a transfer by rope swing when the vessel, through its
captain and crew, knew that weather was moving in which would result
in heavy seas and create a condition of the vessel which posed an
unreasonable risk of harm, which the platform workers, under direct
instructions from their superiors meant to confront and work through and

could not have been relied upon to remedy.

By failing to provide a medical evacuation of the Plaintiff after he had
become injured when the vessel, through its captain and crew, knew that
the motion of the heavy seas, and the time delay in securing medical

attention for the obvious injuries to the Plaintiff created a condition
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which posed an unreasonable risk of harm, which the platform workers,
under direct instructions from their superiors meant to confront and work

through and could not have been relied upon to remedy.

45.0 Each of the foregoing, individually or in concert with one or more of the

others, was a proximate cause of the injuries and damages as are alleged herein below.

F. CAUSE OF ACTION AGAINST OCEAN RUNNER MARINE
FOR NEGLIGENCE UNDER GENERAL MARITIME LAW

46.0 This action is brought against Ocean Runner Marine, Inc. for negligence
under general maritime law. The court has chosen to exercise supplemental jurisdiction
over the Plaintiff's general maritime claims originally brought in state Court under the
savings to suitors clause of the Judiciary Act, 28 U.S.C. § 1331. Additionally, by this
amended complaint, the Plaintiff makes his allegations of negligence against this
Defendant under OCSLA, as provided by the L.H.W.C.A., and the Court enjoys original
federal question jurisdiction over such claims, and the Court can exercise pendant

jurisdiction over the general maritime law claims.

47.0 Donald Glenn Shires was injured on December 12, 2002 while employed
as an offshore platform maintenance worker on the outer continental shelf from the M/V
Ocean Runner VII when he was thrown to the hold of the vessel after transferring to the
vessel at sea from a fixed platform by a swing rope in heavy seas. The impact with the
hold resulted in disabling injuries, including a broken hip and injuries to the Plaintiff's

back, neck and shoulders which have rendered the Plaintiff disabled and impaired.

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48.0

Ocean Runner Marine, Inc. owed the Plaintiff a legal duty under the

LHWCA to exercise due care to avoid his exposure to harm from hazards under the

active control of the vessel; and the duty to intervene and take reasonable steps to

eliminate a hazard if he has actual knowledge that a condition of the vessel or its

equipment poses an unreasonable risk of harm and the vessel acquires knowledge that

the stevedore means to work in the face of it and thus cannot be relied on to remedy it.

49.0

Ocean Runner Marine, Inc. breached its duty of care to avoid the

Plaintiff's exposure to harm from hazards under the active control of the vessel in the

following particulars, each of which was a proximate cause of the injuries and damages

described herein above:

a.

50.0

Permitting a rope transfer to the vessel from a fixed platform in heavy

Seas.

By failing to require evacuation of the platform before seas became too

rough to attempt a transfer by rope swing.

By failing to provide a medical evacuation of the Plaintiff after he had

become injured.

By backing down onto the Platform to accept a transfer of personnel by a

rope transfer under heavy sea conditions.

By failing to require an alternate means of transfer such as a helicopter

evacuation or crane basket transfer.

Ocean Runner Marine, Inc. breached its duty of care to intervene and

take reasonable steps to eliminate a hazard if he has actual knowledge that a condition of

PLAINTIFF’

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the vessel or its equipment poses an unreasonable risk of harm and the vessel acquires

knowledge that the stevedore means to work on in the face of it and thus cannot be

relied on to remedy it in the following particulars, each of which was a proximate cause

of the injuries and damages described herein above:

a.

PLAINTIFF’

Permitting the rope transfer to the vessel from a fixed platform in heavy
seas when the vessel, through its captain and crew, knew that the motion
of the heavy seas created a condition of the vessel which posed an
unreasonable risk of harm, which the platform workers, under direct
instructions from their superiors meant to confront and work through and

could not have been relied upon to remedy.

By failing to require evacuation of the platform before seas became too
rough to attempt a transfer by rope swing when the vessel, through its
captain and crew, knew that weather was moving in which would result
in heavy seas and create a condition of the vessel which posed an
unreasonable risk of harm, which the platform workers, under direct
instructions from their superiors meant to confront and work through and

could not have been relied upon to remedy.

By failing to provide a medical evacuation of the Plaintiff after he had
become injured when the vessel, through its captain and crew, knew that
the motion of the heavy seas, and the time delay in securing medical
attention for the obvious injuries to the Plaintiff created a condition

which posed an unreasonable risk of harm, which the platform workers,

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under direct instructions from their superiors meant to confront and work

through and could not have been relied upon to remedy.

51.0 Each of the foregoing, individually or in concert with one or more of the

others, was a proximate cause of the injuries and damages as are alleged herein below.

G. DAMAGES ALLEGATIONS

52.0 Asaproximate result of said accident(s), plaintiff Donald Glenn Shires
was hurt and injured in health, strength, and activity, sustaining injuries and illness to
his body and shock and injuries to his nervous system and person, all of which have
caused and continue to cause him great mental, physical and nervous pain and
suffering, and mental anguish. In all reasonable likelihood, Plaintiff will suffer
substantial and unrelenting physical pain and mental anguish indefinitely into the
future. Plaintiff is informed and believes and therefore alleges that said injuries and
iliness will result in permanent disability and permanent impairment. The Plaintiff
does seek recovery of these damages, as are shown by the proof at trial, in a sum
which reasonably and adequately compensates the Plaintiff for the injuries and

damages which the Plaintiff has suffered by the negligence of the Defendants herein.

53.0 Asa proximate result of said accident(s), plaintiff Donald Glenn Shires
incurred indebtedness for the reasonable costs of physicians, nurses, rehabilitation,
therapists, hospitalization, diagnostic tests, drugs, sundries and other incidentals in the
necessary treatment of said injuries and illness in an amount which Plaintiff alleges
was reasonable at the time and place such services were provided. Plaintiff is

informed and believes that he will become obligated for further treatment of said

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injuries for an indefinite period of time in the future and therefore alleges future
medical damages as an element of damages in his suit in an amount shown by the
Plaintiff through proof at trial which is and will, in all reasonable medical likelihood,
be occasioned by reason of the injuries which the Plaintiff has suffered by the
negligence of the Defendants herein. The Plaintiff does seek recovery of these
damages, as are shown by the proof at trial, in a sum which reasonably and adequately
compensates the Plaintiff for the injuries and damages which the Plaintiff has suffered

by the negligence of the Defendants herein.

54.0 Asa further proximate result of said accident(s), plaintiff has incurred
special damages in the form of lost earnings in the past, and as well will suffer
diminished earning capacity in the future due to his disability. As a proximate result of
said accident(s), plaintiff's earnings and earning capacity have been impaired, and will
be impaired in the future, and the Plaintiff does seek recovery of these damages, as are
shown by the proof at trial, in a sum which reasonably and adequately compensates the
Plaintiff for the injuries and damages which the Plaintiff has suffered by the

negligence of the Defendants herein.
H. CAUSE OF ACTION AGAINST ALL DEFENANTS -GROSS NEGLIGENCE

55.0 Plaintiffs incorporate by reference as if fully set forth herein, all of the

allegations contained in the preceding paragraphs.

56.0 Defendants had a specific intent to cause substantial injury or harm to the
Plaintiff at the time that he was ordered to make the transfer from the platform to the

M/V Ocean Runner VII in heavy sea conditions.

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57.0 Alternatively, on the occasion in question Defendants, and each of them
had actual knowledge that the rope transfer of personnel from the platform to the M/V
Ocean Runner VII under heavy sea conditions, when viewed from the standpoint of each
particular Defendant at the time the rope transfer was contemplated, involved an extreme
degree of risk, considering the probability and magnitude of the potential harm to
Plaintiff and others. Each Defendants had actual, subjective awareness of the risk
involved in the above described acts or omissions, but nevertheless proceeded with
conscious indifference to the rights, safety, or welfare of Plaintiff and others. Based on
the facts stated herein, Plaintiff requests exemplary damages be awarded from each of the
Defendants herein, in a sum determined to be fair and adequate by the trier of fact to
accomplish the lawful purposes of exemplary damages, and as allowed by the Court and
under law.

I. JURY DEMAND
58.0 Plaintiff continues his demand for a trial by jury.
- J. PRAYER FOR RELIEF

59.0 WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the
Defendants be cited to appear an answer herein for the claims and allegations herein
made, and that upon final trial hereof, the Plaintiff have and recover from the
Defendants, jointly and severally, for his damages as have been alleged herein, for his
pre and post judgment interest at the maximum rate allowed by law, for his costs of
court and suit as may be allowed by law, for his attorney fees as may be allowed by law,
for exemplary damages as found by the trier of fact for the willful and wanton acts of the

defendants, and as may be allowed by the court under the appropriate standard of law,

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and for such other and further relief as he may show himself to be entitled at law or in

equity. Plaintiff prays for general relief. Plaintiff continues his demand for trial by jury.

Respectfully submitted,

State Bar No. 04975270

 

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CERTIFICATE OF SERVICE

This will certify that a true and correct copy of the above and foregoing has been
served on all parties this C2\ day of Pu (5 U5, 2003, in accordance with the

Federal Rules of Civil Procedure by Fax Transmission, and by First Class United States

Fe

Bruce A Craig

mail.

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